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Stale fG New *» York
Supreme Court, Appellate Drvrsion
Third Sudicial Department

JF, Robert D. Mayberger, Clerk of the Appellate Drorston of the
Supreme Court of the State of New York, Third Sudicial Department, do
Le ereby certify that

DLlake Christopher Roberts

having taken and subscribed the Constitutional Oath of Office as prescribed. by
law, was duly Licensed and admitted to practice by this Court as an Attorney

and Counselor at Law in all courts of the Sfate of New York on the 10th day of

December, 2008, is currently in good, standing and 1s registered with the
Administrative Office of: the Courts as required by section four hundred. sixly-
erght-a of the Judiciary Law.

In Witness Whereof, TD have hereunto set my Land

and, affixed the Seal of. satd Court, at the
Oity of Albany, this 9th day of December, 2019.

Ppa Manbrae

Clerk

 
